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                              UNITED STATES DISTRICT COURT
 5
                             EASTERN DISTRICT OF CALIFORNIA
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 8                                                 1:09-CV-01998-OWW-GSA
     BERNARD F. CLARK,
 9                                                 MEMORANDUM DECISION REGARDING
                         Plaintiff,                MOTION TO DISMISS SECOND
10                                                 AMENDED COMPLAINT AND MOTION
                                                   TO EXPUNGE LIS PENDENS
11           v.

12   COUNTRYWIDE HOME LOANS, INC.,
     et al.,
13                       Defendants.
14
15                                   I. INTRODUCTION.

16          Plaintiff Bernard F. Clark proceeds pro se with an action for

17   damages against Defendants Countrywide Home Loans and Bank of

18   America.

19          Defendant filed the original complaint in this action in state

20   court     on   August    24,    2009.     (Doc.       1).     Defendants     removed

21   Plaintiff’s     action     to   federal       court   on    November   12,   2009.

22   Plaintiff subsequently filed a first amended complaint (“FAC”).

23          On August 9, 2010, the court issued a Memorandum Decision

24   dismissing the majority of Plaintiff’s FAC with prejudice. (Doc.

25   45).     Plaintiff was only given leave to amend his complaint in

26   order to plead a fraud claim and a breach of contract claim. (Id.).

27   Plaintiff filed a second amended complaint (“SAC”) on September 9,

28   2010.     (Doc. 47).

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 1         Defendants filed a Motion to Dismiss the SAC and Motion to
 2   Expunge Lis Pendens on September 27, 2010.                     (Docs. 50, 52).
 3   Plaintiff filed opposition to Defendants’ motions on October 25,
 4   2010.     (Docs. 55, 56).      Defendants filed a reply on November 15,
 5   2010.   (Doc. 57).
 6                            II. FACTUAL BACKGROUND.
 7         On or about July 26, 2007, Plaintiff financed the purchase of
 8   a residential property located at 12689 Mt. Jefferson Street,
 9   Groveland, California (“Subject Property”) through a promissory
10   note secured by a deed of trust.             The SAC alleges that before loan
11   closing, the lender orally assured Plaintiff that if he was unable
12   to   satisfy   his    mortgage      obligation,    he    would receive      a   loan
13   modification based on his income.
14         In 2008, Plaintiff defaulted on his mortgage and called
15   Countrywide    Home    Loans     (“Countrywide”)        to   discuss   a   possible
16   solution. Countrywide orally told Plaintiff that if he brought his
17   loan current, Countrywide would enter into a loan modification
18   agreement with him. On or about June 16, 2008, Plaintiff borrowed
19   money and brought his loan current, but Countrywide refused to
20   enter into a loan modification agreement.
21                                III.    LEGAL STANDARD.
22         Dismissal      under   Rule    12(b)(6)     is    appropriate    where     the
23   complaint lacks sufficient facts to support a cognizable legal
24   theory.     Balistreri v. Pacifica Police Dep't, 901 F.2d 696, 699
25   (9th Cir.1990).        To sufficiently state a claim to relief and
26   survive a 12(b) (6) motion, the pleading “does not need detailed
27   factual allegations” but the “[f]actual allegations must be enough
28   to raise a right to relief above the speculative level.” Bell Atl.

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 1   Corp. v. Twombly, 550 U.S. 544, 555, 127 S.Ct. 1955, 167 L.Ed.2d
 2   929   (2007).     Mere   “labels      and       conclusions”     or    a    “formulaic
 3   recitation of the elements of a cause of action will not do.” Id.
 4   Rather, there must be “enough facts to state a claim to relief that
 5   is plausible on its face.” Id. at 570. In other words, the
 6   “complaint must contain sufficient factual matter, accepted as
 7   true, to state a claim to relief that is plausible on its face.”
 8   Ashcroft v. Iqbal, --- U.S. ----, ----, 129 S.Ct. 1937, 1949, 173
 9   L.Ed.2d 868 (2009) (internal quotation marks omitted).
10         The Ninth Circuit has summarized the governing standard, in
11   light of Twombly and Iqbal, as follows: “In sum, for a complaint to
12   survive a motion to dismiss, the nonconclusory factual content, and
13   reasonable      inferences     from    that       content,     must    be    plausibly
14   suggestive of a claim entitling the plaintiff to relief.” Moss v.
15   U.S. Secret Serv., 572 F.3d 962, 969 (9th Cir.2009) (internal
16   quotation marks omitted). Apart from factual insufficiency, a
17   complaint is also subject to dismissal under Rule 12(b)(6) where it
18   lacks a cognizable legal theory, Balistreri, 901 F.2d at 699, or
19   where the allegations on their face “show that relief is barred”
20   for some legal reason, Jones v. Bock, 549 U.S. 199, 215, 127 S.Ct.
21   910, 166 L.Ed.2d 798 (2007).
22         In deciding whether to grant a motion to dismiss, the court
23   must accept as true all “well-pleaded factual allegations” in the
24   pleading under attack. Iqbal, 129 S.Ct. at 1950. A court is not,
25   however, “required to accept as true allegations that are merely
26   conclusory,      unwarranted     deductions         of   fact,    or       unreasonable
27   inferences.” Sprewell v. Golden State Warriors, 266 F.3d 979, 988
28   (9th Cir.2001). “When ruling on a Rule 12(b)(6) motion to dismiss,

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 1   if a district court considers evidence outside the pleadings, it
 2   must normally convert the 12(b)(6) motion into a Rule 56 motion for
 3   summary   judgment,      and    it   must    give   the    nonmoving     party   an
 4   opportunity to respond.”         United States v. Ritchie, 342 F.3d 903,
 5   907 (9th Cir. 2003). “A court may, however, consider certain
 6   materials-documents        attached         to   the   complaint,        documents
 7   incorporated by reference in the complaint, or matters of judicial
 8   notice-without converting the motion to dismiss into a motion for
 9   summary judgment.” Id. at 908.
10                                   IV. DISCUSSION.
11        Although   the       Memorandum        Decision      specifically     advised
12   Plaintiff that he was granted leave to amend the complaint only to
13   state a cause of action for fraud, the SAC asserts a cause of
14   action for “breach of loan modification and contract.”                 The breach
15   of contract claim advanced in the SAC is indistinguishable from the
16   claim   dismissed   in    the    Memorandum      Decision.      The    Memorandum
17   Decision provides:
18        Certain   types   of   contracts   are   invalid   unless
          memorialized by a written document signed by the party
19        against whom the contract is being enforced. Cal. Civ.
          Code § 1624. Mortgages and deeds of trust are subject to
20        the statute of frauds. Secrest v. Sec. Nat?l Mortg. Loan
          Trust 2002-2, 167 Cal. App. 4th 544, 552 (2008). “An
21        agreement to modify a contract that is subject to the
          statute of frauds is also subject to the statute of
22        frauds” and must be in writing. Id. at 553; see also
          Basham v. Pac. Funding Group, 2010 WL 2902368 (E.D. Cal.
23        July 22, 2010)(dismissing a claim that defendant breached
          an oral contract to provide plaintiffs with a loan
24        modification because, under the statute of frauds,
          “absent a writing, there can be no contract, much less a
25        breach of contract.”); Justo v. Indymac Bancorp, et al.,
          2010 WL 623715 (E.D. Cal. Feb. 19, 2010)(plaintiff?s
26        claim that defendants breached an oral contract to modify
          his loan and cancel the foreclosure sale was barred by
27        the statute of frauds). A written contract may not be
          modified by an oral agreement, unless that oral agreement
28        is memorialized in writing and signed by the parties.

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 1        Cal. Civ. Code § 1698.
 2        Here, the alleged promise for a loan modification is
          subject to the statute of frauds. Absent a written
 3        agreement to modify the loan, any claim based upon an
          oral contract to modify the loan is barred by the statute
 4        of frauds. See Secrest, 167 Cal. App. 4th at 552.
 5        At oral argument, Plaintiff claimed that Countrywide
          promised him that if he brought the loan current, they
 6        would modify his loan. Plaintiff further claims that, in
          reliance    on   this   promise,   he   obtained    money
 7        (approximately $8,000) to bring the loan current, but
          Countrywide refused the loan modification. Although
 8        Plaintiff cannot state a breach of contract claim based
          upon this conduct, he may be able to state a claim for
 9        fraud. In California, the elements for a claim of fraud
          are: (1) misrepresentation; (2) knowledge of falsity; (3)
10        intent to defraud; (4) justifiable reliance; and (5)
          resulting damage. Small v. Fritz Companies, Inc., 30 Cal.
11        4th 167, 173 (2003). Upon removal to federal court, all
          claims for fraud must be pled with sufficient
12        particularity to satisfy Federal Rule of Civil Procedure
          Rule 9(b).
13
14   (Memorandum Decision at 7-8).          Despite the guidance provided to
15   Plaintiff in the Memorandum Decision, the SAC fails to allege that
16   any Defendant made any knowingly false representation with the
17   intent   to    defraud   Plaintiff     and      has   not   complied   with     the
18   particularity requirements of Rule 9 by alleging the who, what
19   where,   and    inducement    requirements.           Under   well-established
20   principles,    a   contract   cannot       be   enforced    when   there   is    no
21   consideration. A promise to perform a pre-existing obligation does
22   not constitute consideration and there is no right to enforce such
23   an alleged promise.      Plaintiff has had multiple opportunities to
24   amend his complaint and has failed to state any cognizable claim.
25   Accordingly, the SAC is dismissed, with prejudice.                  Further, as
26   Plaintiff has not asserted any claim that implicates title to the
27   property underlying the Subject Loan, Defendants’ motion to expunge
28   lis pendens is GRANTED.

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 1                                        ORDER
 2            For the reasons stated, IT IS ORDERED;
 3            1) Plaintiff’s SAC is DISMISSED, without prejudice, Defendant
 4            will have one more opportunity to amend the complaint;
 5            2) Defendants Motion to Expunge Lis Pendens is GRANTED, and
 6            3)Defendants shall submit a form of order consistent with this
 7            Memorandum Decision within five (5) days following electronic
 8            service of this decision.
 9
10   IT IS SO ORDERED.
11   Dated:     December 2, 2010            /s/ Oliver W. Wanger
     aa70i8                            UNITED STATES DISTRICT JUDGE
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